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                 EXHIBIT B-174
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                                                                          FILEDIN OFFICE
                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA                                  AUG
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                                                      )                           Ckrkor Superior    Court
IN RE 2 MAY 2022 SPECIAL PURPOSE                      )      No. 2022-EX-000021ultun
                                                                                   County.
                                                                                       Georgia
GRAND JURY                                            )


                     MEDIA INTERVENORS' MOTION FOR
           RELEASE OF SPECIAL PURPOSE GRAND JURY FINAL REPORT

       The Atlanta Journal-Constitution; The Associated Press; Bloomberg L.P.; Cable News

Network, Inc.; CBS Broadcasting Inc., on behalf of CBS News; CMG Media Corporation and its

television station WSB-TV; Dow Jones & Company, publisher of The Wall Street Journal; The

E.W. Scripps Company on behalf of Scripps News and its local media station group; Gray Media

Group, Inc. and its television station WANF; The New York Times Company; Tegna Inc. and its

television station WXIA-TV; and WP Company LLC d/b/a The Washington Post (collectively,

"Media Intervenors") respectfully move this Court to publish in full the final report of the special

purpose grand jury ("Final Report").

       On May 2, 2022, this Court empaneled a special purpose grand jury to investigate

whether, and to what extent, President Donald J. Trump and others attempted to interfere with or

influence the 2020 presidential election in Georgia. Upon foe conclusion of the investigation, the

special purpose grand jury submitted its Final Report to the Court and recommended that it be

published. After conducting a hearing, the Court, in a February 13, 2023 Order, held that while

certain portions of the Final Report were ripe for publication at that time, much of the Final

Report needed to remain confined to "the District Attorney's eyes only - for now." February 13,

2023 Order at 5. The Court found that the due process rights of those named in the Final Report

were jeopardized because Georgia's grand jury process had not yet afforded them a "statutory

mechanism to respond to the charges against them." Id. at 6 (quoting In re Present of Lowndes
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Cnty. Grand Jury, March Term 1982, 166 Ga. App. 258,258 (1983)). In its subsequent July 31,

2023 Order, the Court emphasized that as the grand jury process progressed, "[t]he Court will, as

promised, revisit the question ofreleasing the remainder of the Final Report." July 31, 2023

Order at 6.

       Media Intervenors submit the time to revisit the question is now. The Fulton County

regular grand jury has issued a 41-count indictment against 19 individuals. See State of Georgia

v. Donald J. Trump et al., Case No. 23SC188947. Our criminal justice system will provide the

defendants the full array of due process rights to defend themselves against the allegations,

evidence, and charges lodged against them. The Final Report should now be published.

                                           ARGUMENT

       As this Court found, where, as here, a grand jury recommends publication of its final

report, it is generally the duty of the Court to "order the publication as recommended." February

13, 2023 Order at 3-4 (citing O.C.G.A. § 15-12-80). The Court acknowledged that its primary

"screening function" is to assess the report for ultra vires inclusions, i.e., areas where the special

purpose grand jury included investigative information that exceeded its authority. Id., citing In

re July-August 2003 DeKalb Cnty. Grand Jury, 265 Ga. App. 870, 871 (2004). The Court

concluded that the Final Report contained no such ultra vires inclusions warranting

expungement. February 13, 2023 Order at 4 ("Having reviewed the final report, the undersigned

concludes that the special purpose grand jury did not exceed the scope of its prescribed

mission.").

       However, the Court did not release the Final Report in full in February, explaining "as

with many things in the law, it is not that simple." Id. The Court held that withholding the

release of the majority of the Final Report was warranted at that time because of the "limited due




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process" afforded by the special purpose grand jury procedures to individuals named in the Final

Report. Id. at 5. The Court explained that Georgia's appellate courts had recognized due

process concerns arising from the publication of charges against identifiable individuals in

circumstances where no indictment was returned. Id., citing Thompson v. Macon-Bibb Cnty.

Hosp. Auth., 246 Ga. 777 (1980); Kelley v. Tanksley, 105 Ga. App. 65, 66 (1961). See generally

Kelley, 105 Ga. App. at 66 (1961) (emphasizing "[t]he report of the grand jury sought to be

expunged from the records in the instant case was not a special presentment or true bill of

indictment charging any individual with the violation of the penal laws of this State" but was "in

the nature of a general presentment or recommendation in which the grand jury took note of an

unsolved theft involving county funds").

       Because an indictment has now issued against a broad array of individuals, the due

process concerns relied on by the Court in its February Order are resolved. Those indicted

Defendants now have a clear "mechanism by which to respond" to the allegations, evidence, and

charges against them as their criminal cases proceeds. February 13, 2023 Order at 6, quoting In

re Presentments of Lowndes Cnty. Grand Jury, March Term 1983, 166 Ga. App. 258, 258

(1983); see also id. (explaining expungement is appropriate with respect to identifiable

individuals or institutions when "no indictment is returned").

       Because Defendants will now be afforded a mechanism in which to exercise their due

process rights, the Court should order the "publication" of the Final Report in its entirety. For

the same reasons the Indictment is a public record, the Final Report should be published to

permit the public to understand the scope and scale of the investigation that informed the

Indictment's charges.




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                                        CONCLUSION

        For these reasons, Media Intervenors respectfully request that the Final Report be

published in its entirety.

        Dated this the 16th day of August, 2023

                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       This is to certify that the undersigned has this day served a true and correct copy of the

above via Electronic and United States Mail upon:

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               DATED this the 16th day of August, 2023




                                                      Thomas M. Clyde
